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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
16000 Ventura Blvd., Ste. 1000, Encino, CA 91436

A true and correct copy of the foregoing document entitled (specify): Opposition to Debtor’s Combined Plan of
Reorganization and Disclosure Statement Dated May 4, 2022 will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) – Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On May 27,
2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

     •    Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
     •    Steven P Chang heidi@spclawoffice.com,
          schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notify.cincompass.co
          m;changsr75251@notify.bestcase.com
     •    Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
     •    Susan Titus Collins scollins@counsel.lacounty.gov
     •    Jeffrey W Dulberg jdulberg@pszjlaw.com
     •    Oscar Estrada oestrada@ttc.lacounty.gov
     •    Richard Girgado rgirgado@counsel.lacounty.gov
     •    M. Jonathan Hayes jhayes@rhmfirm.com,
          roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;david@r
          hmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com
     •    Teddy M Kapur tkapur@pszjlaw.com, mdj@pszjlaw.com
     •    Peter A Kim peter@pkimlaw.com, peterandrewkim@yahoo.com
     •    Christopher J Langley chris@slclawoffice.com,
          omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
     •    Benjamin R Levinson ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
     •    Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
     •    Giovanni Orantes go@gobklaw.com, gorantes@orantes-
          law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.bestcase.com
     •    Donald W Reid don@donreidlaw.com, ecf@donreidlaw.com
     •    Matthew D. Resnik matt@rhmfirm.com,
          roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pardis
          @rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com
     •    Peter J Ryan ryan@floresryan.com, schneider@floresryan.com
     •    Allan D Sarver ADS@asarverlaw.com
     •    David Samuel Shevitz david@shevitzlawfirm.com,
          shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com
     •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
     •    Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov

                                                                                            Service information continued on attached page
2. SERVED BY UNITED STATES MAIL: On date, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

          Michael Douglas Carlin                            Peter J. Ryan
          PO Box 67132                                      115 W. California Blvd., #9010
          Century City, CA 90067                            Pasadena, CA 91105

                                                                                            Service information continued on attached page

           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
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3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May 27, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

    The Honorable Ernest M. Robles
    United States Bankruptcy Court
    Central District of California
    Edward R. Roybal Federal Building and Courthouse
    255 E. Temple Street, Suite 1560 / Courtroom 1568
    Los Angeles, CA 90012
    via Fed Ex

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 27, 2022                 Marvin J. Ramos
 Date                          Printed Name                                                    Signature




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
2231900.1 - 30964.0001
